             Case 2:23-cv-00576-MLP Document 21 Filed 06/16/23 Page 1 of 3




 1                                                                 The Honorable Michelle L. Peterson
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 7
                             UNITED STATES DISTRICT COURT
 8                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 9
        NEXON KOREA CORPORATION, a Korean                    NO.    2:23-CV-00576-MLP
10
        Corporation,
11                                                           NOTICE OF APPEARANCE
               Plaintiff,
12
               v.
13
        IRONMACE CO., LTD., a Korean
14
        Corporation; JU-HYUN CHOI, individually;
15      and TERENCE SEUNGHA PARK,
        individually,
16
               Defendants.
17

18   TO:    All Parties and Their Counsel of Record

19          PLEASE TAKE NOTICE of the appearance in this litigation of Ironmace Co., Ltd.; Ju-

20   Hyun Choi; and Terence Seungha Park, by and through their undersigned counsel. Copies of

21   all documents and pleadings with regard to this litigation, with the exception of original

22   process, are to be served on the undersigned counsel.

23          The undersigned attorneys may be contacted at the following address:

24          Michael E Chait
            Chris J. Lindemeier
25
            SAVITT BRUCE & WILLEY LLP
26          Joshua Green Building
            1425 Fourth Avenue, Suite 800
27          Seattle, WA 98101-2272
                                                                          SAVITT BRUCE & WILLEY LLP
      NOTICE OF APPEARANCE - 1
                                                                          1425 Fourth Avenue Suite 800
      No. 2:23-CV-00576-MLP
                                                                         Seattle, Washington 98101-2272
                                                                                  (206) 749-0500
             Case 2:23-cv-00576-MLP Document 21 Filed 06/16/23 Page 2 of 3




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 2
             mchait@sbwllp.com
 3           clindemeier@sbwllp.com

 4           All defenses, claims and rights are fully and expressly reserved, including without

 5   limitation defenses relating to service of process, sufficiency of process, and personal or other

 6   jurisdiction.

 7           DATED June 16, 2023.

 8                                          SAVITT BRUCE & WILLEY LLP
 9

10                                           By      s/Michael E Chait
                                             By      s/Chris J. Lindemeier
11                                                Michael E Chait, WSBA #48842
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                                            Attorneys for Defendants
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                                                                          SAVITT BRUCE & WILLEY LLP
      NOTICE OF APPEARANCE - 2
                                                                          1425 Fourth Avenue Suite 800
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                                                                                  (206) 749-0500
             Case 2:23-cv-00576-MLP Document 21 Filed 06/16/23 Page 3 of 3




 1                                  CERTIFICATE OF SERVICE
 2          I hereby declare under penalty of perjury under the laws of the United States of
 3   America that on this date, the foregoing document was filed electronically with the Court and
 4   thus served simultaneously upon all counsel of record.
 5          I declare under penalty of perjury that the foregoing is true and correct.
 6          EXECUTED on June 16, 2023.
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                                                                         SAVITT BRUCE & WILLEY LLP
      CERTIFICATE OF SERVICE
                                                                         1425 Fourth Avenue Suite 800
      No. 2:23-CV-00576-MLP
                                                                        Seattle, Washington 98101-2272
                                                                                 (206) 749-0500
